    In Re: Scott K. Williams Debtor 12.09.2022




                    October 12, 2023




         Charles Fisher Court Reporting
              442 East Mendenhall
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                                                             131
9:23-ap-09001-BPH Doc#: 35-49 Filed: 11/15/23 Page 1 of 11
                                                                                                                              Page 3
 1                    UNITED STATES BANKRUPTCY COURT                1                                 INDEX
                       FOR THE DISTRICT OF MONTANA
 2 _____________________________________________________________    2
 3 IN RE:                                                           3                               TESTIMONY
 4 SCOTT K. WILLIAMS,               Case No. 9:22-bk-90147-BPH      4   WITNESS:                                              PAGE:
 5                 Debtor.                                          5   SCOTT L. WILLIAMS:
                                                                        Examination by Mr. Patten . . . . . . . . . . . . .       5
 6 _____________________________________________________________    6   Examination by Trustee Samson . . . . . . . . . . .      14
 7                      OFFICE OF THE U.S. TRUSTEE                  7
                           U.S. DEPT OF JUSTICE
 8                       550 WEST FORT STREET                       8
                                 ROOM 698
 9                            BOISE, ID 83724                       9
10                                                                 10
11                      TRANSCRIPT OF PROCEEDINGS                  11
12                  341 CREDITOR MEETING (Continued)               12
13                             HELD VIA ZOOM                       13
14                                                                 14
15                            December 9, 2022                     15
16                                                                 16
17                                                                 17
18                                                                 18
19                                                                 19
20                                                                 20
21                              HELD BEFORE:                       21
22                         Richard J. Samson                       22
                           Bankruptcy Trustee
23                        310 W. Spruce Street                     23
                           Missoula, MT 59802
24                       Phone: (406) 721-7772                     24
                       Email: rjs@CSBlawoffice.com
25                                                                 25

                                                          Page 2                                                              Page 4
 1                         APPEARANCE OF COUNSEL:
                                                                    1
 2   ATTORNEY APPEARING ON BEHALF OF DEBTOR:
                                                                    2                  (Audio began.)
 3   Matthew F. Shimanek
     Shimanek Law, PLLC                                             3
 4   317 East Spruce Street
     Missoula, MT 59802                                             4         TRUSTEE SAMSON: Okay. This is the, uh, creditor
 5   Phone: (406) 544-8049
     Email: matt@shimaneklaw.com                                    5 meeting -- continued meeting of creditors for Scott K.
 6                                                                  6 Williams. This is Case Number 22-90147.
 7   ATTORNEY APPEARING ON BEHALF OF THE DEBTOR'S SIBLINGS, KENT
                                                                    7     Just by way of background, we -- we did what we thought
     WILLIAMS, DUFFY WILLIAMS, BRENDA HARBORS, KAREN PRIEST, and
 8   MARY ELLA CARTER:                                              8 was the creditor meeting back in November, and, actually,
 9   Eli J. Patten                                                  9 during the course of the creditor meeting I received an email
     Crowley Fleck, PLLP
10   490 North 31st Street                                         10 from the Clerk's Office of the Bankruptcy Court explaining to
     Billings, MT 59101
11   Phone: (406) 252-3441                                         11 me that the case had not been properly noticed by them, and
     Email: epatten@crowleyfleck.com
12                                                                 12 that not all creditors, apparently, had been notified of the
13   Siblings present:                                             13 bankruptcy filing by Scott.
14   Kent Williams
     Duffy Williams
                                                                   14     So, we agreed to continue this meeting and start again
15   Brenda Harbors                                                15 today. I still have the transcript -- or the record from the
     Karen Priest
16   Mary Ella Carter                                              16 last creditor meeting. Uhm, some of the -- one of the things
17                                                                 17 I have requested from both Mr. Patten and from Mr. Shimanek
18                                                                 18 is that any questioning that takes place today, that it be
19                                                                 19 done by the attorneys, to try to move this matter along, I
20                                                                 20 guess.
21                                                                 21     So, Scott, I would start by just asking you, once again,
22                                                                 22 to raise your right hand.
23                                                                 23
24                                                                 24 (The debtor was duly sworn.)
25                                                                 25


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                                  Doc#:Fisher
                                         35-49Court
                                               Filed:Reporting
                                                      11/15/23 Page 2 of 11                                        (1) Pages 2 - 4
                    442 East Mendenhall, Bozeman MT 59715, (406) 587-9016
                                                         Page 5                                                             Page 7

 1         THE DEBTOR: (Inaudible)                                  1 that had been issued to you?
 2         TRUSTEE SAMSON: I need you to speak up just a            2 A. I think they did a cashier's check, yes.
 3 little bit, Scott.                                               3 Q. Okay. And after that check was issued, uh, did you
 4         THE DEBTOR: I do.                                        4 deposit that within Zions Bank, or another institutions, do
 5         TRUSTEE SAMSON: Okay. Can you get closer, or turn        5 you recall?
 6 up your volume -- volume, because I'm having a hard time         6 A. Uhm, I don't recall what I did after that, how I did it.
 7 hearing ya.                                                      7 I -- I believe I held it in a -- I -- I don't -- I don't
 8         THE DEBTOR: Is that better?                              8 remember. I honestly don't remember at that point.
 9         TRUSTEE SAMSON: Yeah, that is better. Thank you          9 Q. Okay. In -- in terms of bank accounts, or checking
10 very much.                                                      10 accounts, do you still maintain bank accounts in the state of
11     Scott, I went through a series of questions with you,       11 Utah?
12 uhm, last month. Uhm, I might have some other questions for     12 A. Uhm, no, I don't.
13 you, but I -- I think what I'm going to do today is I'm going   13 Q. And during your -- I guess, prior to -- to your move to
14 to turn it over to Mr. Patten, and to let him start by asking   14 Montana, at what financial institutions did you maintain
15 questions. Understanding that we still have the record of       15 account?
16 your answers from last month.                                   16 A. Uhm, well, what I had is a -- I still have the same
17     So, Eli, if you want to go ahead, if you have any           17 account. It would be U.S. Bank, but it was based in Montana.
18 questions to ask today, why don't you go ahead. And, then, I    18 Q. Okay. Uhm --
19 might come back in with a few follow-up questions for Mr.       19 A. I believe that account I opened, like, in 20 -- I -- I
20 Williams, and then from Mr. Shimanek. Okay?                     20 don't remember. I -- it -- it was -- I had it for a long
21         MR. PATTEN: Sure. Well, thanks -- thanks, Dick.         21 time, but it was a Utah account.
22                                                                 22 Q. Okay.
23                    EXAMINATION                                  23 A. I mean, it was the one, and the account that I just used
24 BY MR. PATTEN:                                                  24 it in Utah the whole time.
25 Q. Mr. Williams, you know, my name is Eli Patten, and we        25 Q. So, was that the only account you were using during the


                                                         Page 6                                                             Page 8

 1 spoke here about a month or so ago at the first 341 Meeting,     1 time period of 2018 to 2021?
 2 uhm, and my questions for you today are related to the           2 A. Yes.
 3 distribution you received from your father's estate, or from     3 Q. Okay. So, more than likely, you probably deposited the --
 4 the trust.                                                       4 that check into that U.S. Bank account?
 5 A. Okay.                                                         5 A. (Audio cut out - inaudible)
 6 Q. By way of a little bit of background for you here, uh, I      6          TRUSTEE SAMSON: Would you say that -- would you
 7 -- I have copies, a fairly extensive series of records           7 repeat your answer there, Scott? I didn't hear it.
 8 related to the trust, to the bank accounts that the trust had    8          THE DEBTOR: (Audio interruption - inaudible).
 9 maintained, Hugh's RV had maintained, and, so, I've got part     9          TRUSTEE SAMSON: Say it one more time?
10 of the picture here.                                            10          THE DEBTOR: I don't recall how I did that.
11     But I understand that you had received -- or initiated a    11          TRUSTEE SAMSON: Okay.
12 transfer to yourself by way of a -- a check that was issued     12          THE DEBTOR: What I did.
13 from Hugh -- to Hugh's RV's account, or the trust account of    13          TRUSTEE SAMSON: Thank you.
14 -- in an amount of about approximately a-hundred-and -- or,     14 BY MR. PATTEN:
15 excuse me, 425, $426,000; is that right?                        15 Q. And -- and I'm -- I'm just trying to get an idea, so we
16 A. Yeah, I think -- yes, that's close. Yeah.                    16 know, I guess, who to ask for -- for records here, uhm, is --
17 Q. Okay. Now, do you recall, was that transfer -- or was        17 is the reason I'm asking you questions about that.
18 that initiated by way of a check, or was it a wire transfer     18     So, it -- and I just wanted to confirm, so it's unlikely
19 within Zions bank? Do -- do you remember?                       19 that you went and cashed the check and received $425,000 in
20 A. I believe it was -- it was a check. Yeah, it would be a      20 cash.
21 check, I believe.                                               21 A. I -- I -- yeah, I don't -- no, I didn't do that, I'm sure.
22 Q. Okay. And following the issuance of -- of the check from     22 I don't think I walked around with 425,000 cash, no.
23 -- from the bank, and -- and, actually, let me take a step      23 Q. That would probably be (inaudible). So, okay.
24 back here.                                                      24     Now, and -- and, granted, it's -- it's been a little bit
25      Was -- was it a cashier's check, or an official check      25 of time here, but, uh -- and it's a fairly significant sum,


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                                         35-49Court
                                               Filed:Reporting
                                                      11/15/23 Page 3 of 11                                        (2) Pages 5 - 8
                    442 East Mendenhall, Bozeman MT 59715, (406) 587-9016
                                                          Page 9                                                           Page 11

 1 $426,753.71, and my memory is, when we talked last month,        1 A. I -- I know that, uh, it's hers, but I don't --
 2 that you said that you had spent it on a variety of -- of        2 (inaudible) involved with it, whatsoever. So...
 3 things, but didn't have a definite recollection as to exactly    3 Q. Okay.
 4 what it is.                                                      4 A. (Inaudible)
 5     Now, with the passage of time, and, maybe, an                5 Q. And the management creation, et cetera, isn't something
 6 opportunity to think about that, do you have a general idea      6 that you spoke with Candy about from 2018 to present?
 7 as to where those funds went?                                    7 A. No.
 8 A. Well, I actually haven't thought about it at all since        8 Q. Are you aware of who -- or how that entity was created?
 9 then. No, I -- I don't remember exactly what I did. Like I       9 No, I don't recall anything about that.
10 -- Like I answered before, we traveled. We did some -- uhm,     10 Q. Okay. And -- and, again, we -- we'll have the ability to
11 yeah, I don't know. We just went through it.                    11 -- to track down information, in terms of bank records,
12 Q. So -- so, it's your testimony that those funds have been     12 accountancy, et cetera, have you contributed any funds to
13 spent?                                                          13 Viking Investments, LLC., personally?
14 A. Yes. Uh-huh.                                                 14 A. I -- I don't recall doing anything like that, no.
15 Q. Okay. So that U.S. Bank account that -- that -- that we      15 Q. Have you ever maintained any position in -- executive, or
16 were talking about before, are you the only owner, or the       16 otherwise, with Viking Investments, LLC.?
17 only individual that has access to -- to that account?          17 A. No.
18 A. My wife, Candy, is on it, but she hasn't used it, I think,   18 Q. And, so, in terms of -- of its formation or creation, do
19 ever, since 2008 or '9. I mean, she's never deposited into      19 you have any understanding or background as to why the entity
20 it, or written checks out of it, or anything like that.         20 was created?
21     And I'm pretty sure we separated everything when I -- in    21 A. I have -- I have nothing to do with it.
22 about 2008 or '9, just because she didn't want to be involved   22 Q. So, Candy is the one that we need to talk to about that.
23 with the loans, and stuff, that I was doing for Hugh's RV to    23 A. Yes.
24 Hugh.                                                           24 Q. And a question for you, and as part of my research I
25 Q. Okay.                                                        25 discovered an assumed business name for Glacier Travel Stops.


                                                        Page 10                                                            Page 12

 1 A. So she kept her money separate.                               1 Are you familiar with Glacier Travel Stops?
 2 Q. Okay. Uhm, some questions for you about the home that you     2 A. No.
 3 reside in, which I understand to be 11423 Spotted Fawn Lane      3 Q. Never heard of it.
 4 in Bigfork. Is that --                                           4 A. Well, I -- I've heard of it, but I'm not familiar with it.
 5 A. Right. Yes.                                                   5 I don't -- again, I don't know what it -- yeah.
 6 Q. And, again, they have done a little bit of research here,     6 Q. So, you -- you don't have any involvement with a business
 7 so I've gone through real property records, reviewed a           7 or an enterprise with that name.
 8 variety of public record sources, and my understanding is        8 A. No.
 9 that Viking Investments, LLC., initially purchased that          9 Q. Uhm, going back to -- to the Spotted Fawn Lane residence,
10 property.                                                       10 do you recall approximately when you moved into that home?
11     So, my questions for you are about Viking Investments,      11 A. Yeah, in December of 2019, as I recall. And, uhm, I still
12 LLC., are you familiar with that entity?                        12 had a lease (inaudible) on a home until June of 2020. So, I
13 A. I don't have anything to do with that, no.                   13 would have gotten -- yeah, I -- basically, I moved in up
14 Q. Yeah. But are you familiar with it?                          14 there about December of 2019, is what -- the end of December
15 A. (Inaudible)                                                  15 of 2019.
16 Q. I'm sorry, it -- it broke up there. What was that?           16     And that was around when COVID was starting in, too.
17 A. I am familiar with it, but I don't -- I'm not part of it.    17 So, yeah, I'm just trying to think of when it was. But
18 Q. Okay. What -- what is Viking Investments, LLC.?              18 that's right, around COVID.
19 A. I wouldn't -- I don't know. It's an LLC.                     19 Q. And did Candy reside there prior to -- to you moving in,
20 Q. Okay.                                                        20 then?
21 A. Yep.                                                         21 A. Uhm, no, I don't think so. I -- she traveled
22 Q. Uhm, and you're aware that Candy, your wife, is the          22 back-and-forth a few times, but she still worked in Salt
23 registered agent? Is she -- yeah, I guess, do you have any,     23 Lake. So, I don't believe that she -- you know, I don't -- I
24 uh, understanding or background as to her role or involvement   24 don't know what the residency rules would be, if she was a
25 with that entity?                                               25 dual resident, or what, but her job was still in Salt Lake at


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                                         35-49Court
                                               Filed:Reporting
                                                      11/15/23 Page 4 of 11                                      (3) Pages 9 - 12
                    442 East Mendenhall, Bozeman MT 59715, (406) 587-9016
                                                        Page 13                                                            Page 15

 1 that time.                                                       1 Q. Okay. Now, the name on that account is "Candy Willden."
 2 Q. Were you living together in Salt Lake during that period      2 Where does that --
 3 of time?                                                         3 A. That --
 4 A. In -- yeah. Back-and-forth, but, yeah.                        4 Q. -- where does that come from?
 5 Q. And I know we touched on the issue about, uh, a mortgage,     5 A. Account right before we got married, and we just never got
 6 or -- or -- or the purchase. Have you contributed any funds      6 in to change it, because she never uses it. So, that was her
 7 since your -- since December of 2019 to the payment of the       7 previous name.
 8 mortgage for that home?                                          8 Q. Okay. Do you know if your wife has bank accounts
 9 A. No.                                                           9 separately in her name with any other bank?
10 Q. And, so, Candy's bank records would indicate that the        10 A. Uhm, if she has accounts of her own? Yes. Uh-huh.
11 payments are going directly from her to --                      11 Q. Okay. Can you --
12 A. Oh, yes.                                                     12 A. I'm not sure she -- I don't know what all she has at this
13 Q. Okay. I apologize here. Just checking my notes.              13 point, but she has bank accounts in her --
14     Scott, have you, or an entity that you are associated       14 Q. Separate -- separate accounts that are only in her name,
15 with, ever owned property in Wyoming?                           15 correct?
16 A. No.                                                          16 A. Yeah, that's true.
17 Q. Have -- have you ever leased property in Wyoming?            17 Q. Is that a fair statement?
18 A. No.                                                          18 A. Uh-huh.
19 Q. Were you involved in any development, real estate            19 Q. Okay. Do you know where they're at?
20 development-type -- type of activity in Wyoming?                20 A. No, I don't -- I haven't seen anything on her bank
21 A. No.                                                          21 accounts since we left Utah. So, I don't know -- I don't
22         MR. PATTEN: Uhm, those -- those are the questions       22 know what she's got right now.
23 I had, Dick. Uh --                                              23 Q. Okay.
24         TRUSTEE SAMSON: Okay. Scott, I've got a couple of       24 A. I don't.
25 follow-up questions for you.                                    25 Q. Okay. Uhm, is Candy still self-employed?


                                                        Page 14                                                            Page 16

 1                                                                  1 A. No. No. She -- she works for a mortgage company out of
 2                    EXAMINATION                                   2 Utah. She works remotely here from Utah.
 3 BY TRUSTEE SAMSON:                                               3 Q. What's the name of the mortgage company that she works
 4 Q. I want to clarify a couple of things with you on the          4 for? I think you may have mentioned this last time, but I
 5 record. My understanding is that your testimony is that you      5 didn't write it down.
 6 have a bank account with U.S. Bank, correct?                     6 A. PRMI in Salt Lake City. PRMI.
 7 A. That's correct, yeah.                                         7 Q. BRMI?
 8 Q. Would it be a fair statement to say that you actually have    8 A. P like in Peter, R like in Roger, M like in Mary, I like
 9 two bank accounts with U.S. Bank, one in --                      9 in interesting.
10 A. No.                                                          10 Q. Okay.
11 Q. -- one in your name, solely, and one in which you and        11         MR. SHIMANEK: That -- that, uh -- that employer's
12 Candy, apparently, are joint holders on the account?            12 listed, Dick, on Schedule I for the spouse. So, it's --
13 A. Only if it is one that -- a savings. If that's considered    13 Q. Oh, okay.
14 differently. I have $100 in a savings account. Which I          14         MR. SHIMANEK: (Inaudible)
15 don't know how that works.                                      15         TRUSTEE SAMSON: Okay.
16 Q. Okay. So, let me just -- let me shoot you some numbers.      16 BY TRUSTEE SAMSON:
17 I'm looking -- based on -- based on bank statements that Mr.    17 Q. When your case was filed, Scott, and -- and pursuant to
18 Shimanek had provided to me, I'm seeing an account with U.S.    18 our local rules, Mr. Shimanek provided me with copies of tax
19 Bank that ends in 3336, and I'm assuming that that might be     19 returns for 2020 and 2021.
20 the savings account?                                            20 A. Okay.
21 A. It would be the savings. Yeah, it's got to be that.          21 Q. Do you still have copies of your 2019 tax returns?
22 There's a separate statement for savings, and one for --        22 A. Uhm, yeah, I'm -- I'm sure I do somewhere. You bet.
23 Q. Yeah. And, then, the second account ends in 0794, and it     23 Q. Could I secure a copy of your Federal Tax Return for 2019,
24 looks to me like that's you and Candy.                          24 as well as any state returns? I don't -- I'm hearing from
25 A. That's correct.                                              25 your testimony that, maybe, in 2019 you were still living in


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                                  Doc#:Fisher
                                         35-49Court
                                               Filed:Reporting
                                                      11/15/23 Page 5 of 11                                     (4) Pages 13 - 16
                    442 East Mendenhall, Bozeman MT 59715, (406) 587-9016
                                                       Page 17                                                           Page 19

 1 Salt Lake, so I don't know if there's a state return with       1 I'd have to get on the app and make sure they go back that
 2 Montana involved. But if the -- but wherever you filed a        2 far, but I assume they would.
 3 state return, I'd like to see that for 2019, as well.           3 Q. Okay. If -- if I could get, at the very least, copies of
 4 A. Okay.                                                        4 the bank account statements from July of 2019, through,
 5 Q. Is the home that you live in currently encumbered by a       5 probably, let's just say, February or March of 2020, that
 6 mortgage?                                                       6 would help.
 7 A. Yes. Uhm, that -- that information's been provided. I        7 A. March of 2020. Okay.
 8 believe, I remember it's about 280,000 on the mortgage. But     8 Q. And I think that's all I have. But I'd like to see those
 9 you'd have to check that number.                                9 documents.
10 Q. Okay. And -- and that mortgage is -- is in Candy's name,    10 A. Okay.
11 correct?                                                       11 Q. And it would still be into the same account, either the
12 A. Uh-huh.                                                     12 savings account or the joint account with Candy?
13 Q. Do you know who the mortgage company is?                    13 A. Uhm, the -- the -- yeah, that's the two accounts that I
14 A. Uhm, that was also provided. It's United-something. I --    14 have, basically, yes.
15 I don't have it in front of me, but it's United-something.     15 Q. So, I guess, just to clarify, if you would provide me
16 But --                                                         16 copies with statements? Because, as I understand it from
17 Q. Okay?                                                       17 your testimony, the savings account is a separate statement.
18         MR. SHIMANEK: It's United Wholesale Mortgage,          18 A. It sounds like it.
19 Dick, out of New Jersey.                                       19 Q. Yeah. So, if I could get copies from July through, let's
20         TRUSTEE SAMSON: Okay. Thank you.                       20 just say, February of 2020. From July of '19 through 2020.
21 BY TRUSTEE SAMSON:                                             21 A. Okay.
22 Q. I just want to go back and I want to clarify something.     22 Q. Okay? On both accounts.
23     Mr. Patten asked you, one of the initial questions was a   23 A. All right.
24 distribution from the estate funds.                            24 Q. Yeah. And also a copy of the 2019 Federal and State Tax
25 A. Yes.                                                        25 Returns that were filed.


                                                       Page 18                                                           Page 20

 1 Q. And that came out of Zions Bank, as I understand it, and     1 A. All right. Okay. Will do.
 2 we think it's in the form of a cashier's check?                 2 Q. Okay.
 3 A. I believe so.                                                3         TRUSTEE SAMSON: Eli, did you have any more
 4 Q. And you don't know where that money was deposited?           4 questions?
 5 A. I -- I -- I can't remember what I did. I know I split it     5         MR. PATTEN: I don't.
 6 up, but I can't remember what I did with it. I'd -- I'd have    6     Matt, I'm going to give you a call this afternoon.
 7 to look at it and see.                                          7 There are some, kind of, clean-up items we have with respect
 8 Q. Okay.                                                        8 to the trust, and I figured that we could do that offline
 9 A. I -- I don't --                                              9 here. So, I'll be giving you a call.
10 Q. Other -- other than U.S. Bank, are there any other banks    10         MR. SHIMANEK: You bet. That sounds good. That
11 where you had an account where you would have deposited that   11 sounds fine, Eli. I might be stuck, I've got some hearings
12 money?                                                         12 with Christy Brandon this afternoon, but --
13 A. No.                                                         13         MR. PATTEN: (Inaudible)
14 Q. So, if it's there, --                                       14         MR. SHIMANEK: Yeah, we can touch base Monday.
15 A. (Inaudible)                                                 15         MR. PATTEN: Yeah, that sounds good.
16 Q. -- it would go into -- if you deposited it, it --           16         TRUSTEE SAMSON: Okay, folks. Thank you very much.
17 A. Correct.                                                    17     Everyone is free to disconnect. Okay?
18 Q. -- it would go into a U.S. Bank account?                    18         MR. PATTEN: Okay, thanks.
19 A. Correct.                                                    19         TRUSTEE SAMSON: Okay. Thank you.
20 Q. Okay. Do you still have copies, or do you -- could you      20     The meeting is adjourned.
21 have access to copies of your U.S. Bank account statements     21
22 from, say, --                                                  22                 (Audio concluded.)
23 A. (Inaudible)                                                 23
24 Q. -- July of 2019, coming forward?                            24
25 A. '22. I believe I could do that. I think so. Yeah, I --      25


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                                               Filed:Reporting
                                                      11/15/23 Page 6 of 11                                   (5) Pages 17 - 20
                    442 East Mendenhall, Bozeman MT 59715, (406) 587-9016
                                                           Page 21
 1                               CERTIFICATE
 2
 3        I, Julie L. DeLong, certify that the foregoing is a
 4   correct transcription from the recording of proceedings in
 5   the above-entitled matter to the best of my knowledge, skill,
 6   and ability.
 7
 8
       /s/ Julie L. DeLong                          11/06/2023
 9   Julie L. DeLong                                Date
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                                  Doc#:Fisher
                                         35-49Court
                                               Filed:Reporting
                                                      11/15/23 Page 7 of 11   (6) Page 21
                    442 East Mendenhall, Bozeman MT 59715, (406) 587-9016
In Re: Scott K. Williams Debtor 12.09.2022

                           approximately (2)            11:25;12:6                4:5                    down (2)
           $                  6:14;12:10                                        contributed (2)            11:11;16:5
                           around (3)                            C                11:12;13:6             dual (1)
$100 (1)                      8:22;12:16,18                                     copies (8)                 12:25
  14:14                    associated (1)            call (2)                     6:7;16:18,21;18:20,    duly (1)
$425,000 (1)                  13:14                     20:6,9                    21;19:3,16,19            4:24
  8:19                     assume (1)                came (1)                   copy (2)                 during (4)
$426,000 (1)                  19:2                      18:1                      16:23;19:24              4:9;7:13,25;13:2
  6:15                     assumed (1)               Can (3)                    couple (2)
$426,753.71 (1)               11:25                     5:5;15:11;20:14           13:24;14:4                        E
  9:1                      assuming (1)              Candy (10)                 course (1)
                              14:19                     9:18;10:22;11:6,22;       4:9                    either (1)
           A               attorneys (1)                12:19;14:12,24;15:1,    Court (1)                   19:11
                              4:19                      25;19:12                  4:10                   Eli (4)
ability (1)                Audio (4)                 Candy's (2)                COVID (2)                   5:17,25;20:3,11
   11:10                      4:2;8:5,8;20:22           13:10;17:10               12:16,18               email (1)
access (2)                 aware (2)                 Case (3)                   created (2)                 4:9
   9:17;18:21                 10:22;11:8                4:6,11;16:17              11:8,20                employer's (1)
account (27)                                         cash (2)                   creation (2)                16:11
   6:13,13;7:15,17,19,                 B                8:20,22                   11:5,18                encumbered (1)
   21,23,25;8:4;9:15,17;                             cashed (1)                 creditor (4)                17:5
   14:6,12,14,18,20,23;    back (6)                     8:19                      4:4,8,9,16             end (1)
   15:1,5;18:11,18,21;       4:8;5:19;6:24;12:9;     cashier's (3)              creditors (2)               12:14
   19:4,11,12,12,17          17:22;19:1                 6:25;7:2;18:2             4:5,12                 ends (2)
accountancy (1)            back-and-forth (2)        cetera (2)                 currently (1)               14:19,23
   11:12                     12:22;13:4                 11:5,12                   17:5                   enterprise (1)
accounts (12)              background (4)            change (1)                 cut (1)                     12:7
   6:8;7:9,10,10;14:9;       4:7;6:6;10:24;11:19        15:6                      8:5                    entity (5)
   15:8,10,13,14,21;       bank (26)                 check (13)                                             10:12,25;11:8,19;
   19:13,22                  6:8,19,23;7:4,9,10,        6:12,18,20,21,22,25,               D                13:14
activity (1)                 17;8:4;9:15;11:11;         25;7:2,3;8:4,19;17:9;                            estate (3)
   13:20                     13:10;14:6,6,9,9,17,19;    18:2                    debtor (7)                  6:3;13:19;17:24
actually (4)                 15:8,9,13,20;18:1,10, checking (2)                   4:24;5:1,4,8;8:8,10,   et (2)
   4:8;6:23;9:8;14:8         18,21;19:4                 7:9;13:13                 12                        11:5,12
adjourned (1)              Bankruptcy (2)            checks (1)                 December (4)             Everyone (1)
   20:20                     4:10,13                    9:20                      12:11,14,14;13:7          20:17
afternoon (2)              banks (1)                 Christy (1)                definite (1)             exactly (2)
   20:6,12                   18:10                      20:12                     9:3                       9:3,9
again (5)                  base (1)                  City (1)                   deposit (1)              EXAMINATION (2)
   4:14,21;10:6;11:10;       20:14                      16:6                      7:4                       5:23;14:2
   12:5                    based (3)                 clarify (3)                deposited (5)            excuse (1)
agent (1)                    7:17;14:17,17              14:4;17:22;19:15          8:3;9:19;18:4,11,16       6:15
   10:23                   basically (2)             clean-up (1)               development (1)          executive (1)
ago (1)                      12:13;19:14                20:7                      13:19                     11:15
   6:1                     began (1)                 Clerk's (1)                development-type (1)     explaining (1)
agreed (1)                   4:2                        4:10                      13:20                     4:10
   4:14                    bet (2)                   close (1)                  Dick (4)                 extensive (1)
ahead (2)                    16:22;20:10                6:16                      5:21;13:23;16:12;         6:7
   5:17,18                 better (2)                closer (1)                   17:19
a-hundred-and (1)            5:8,9                      5:5                     differently (1)                     F
   6:14                    Bigfork (1)               coming (1)                   14:14
along (1)                    10:4                       18:24                   directly (1)             fair (2)
   4:19                    bit (4)                   company (3)                  13:11                     14:8;15:17
amount (1)                   5:3;6:6;8:24;10:6          16:1,3;17:13            disconnect (1)           fairly (2)
   6:14                    both (2)                  concluded (1)                20:17                     6:7;8:25
answered (1)                 4:17;19:22                 20:22                   discovered (1)           familiar (5)
   9:10                    Brandon (1)               confirm (1)                  11:25                     10:12,14,17;12:1,4
apologize (1)                20:12                      8:18                    distribution (2)         far (1)
   13:13                   BRMI (1)                  considered (1)               6:3;17:24                 19:2
app (1)                      16:7                       14:13                   documents (1)            father's (1)
   19:1                    broke (1)                 continue (1)                 19:9                      6:3
apparently (2)               10:16                      4:14                    done (2)                 Fawn (2)
   4:12;14:12              business (2)              continued (1)                4:19;10:6                 10:3;12:9

Min-U-Script®                                    Charles Fisher Court Reporting                                  (22) $100 - Fawn
                    9:23-ap-09001-BPH     Doc#: 35-49
                              442 East Mendenhall, BozemanFiled: 11/15/23
                                                           MT 59715,         Page 8 of 11
                                                                     (406) 587-9016
In Re: Scott K. Williams Debtor 12.09.2022

February (2)               12:3,4                    issued (3)                  18:7                    name (10)
   19:5,20               hearing (2)                    6:12;7:1,3             looking (1)                 5:25;11:25;12:7;
Federal (2)                5:7;16:24                 items (1)                   14:17                     14:11;15:1,7,9,14;
   16:23;19:24           hearings (1)                   20:7                   looks (1)                   16:3;17:10
few (2)                    20:11                                                 14:24                   need (2)
   5:19;12:22            held (1)                                J                                         5:2;11:22
figured (1)                7:7                                                            M              New (1)
   20:8                  help (1)                    Jersey (1)                                            17:19
filed (3)                  19:6                         17:19                  maintain (2)              notes (1)
   16:17;17:2;19:25      holders (1)                 job (1)                     7:10,14                   13:13
filing (1)                 14:12                        12:25                  maintained (3)            noticed (1)
   4:13                  home (5)                    joint (2)                   6:9,9;11:15               4:11
financial (1)              10:2;12:10,12;13:8;          14:12;19:12            management (1)            notified (1)
   7:14                    17:5                      July (4)                    11:5                      4:12
fine (1)                 honestly (1)                   18:24;19:4,19,20       March (2)                 November (1)
   20:11                   7:8                       June (1)                    19:5,7                    4:8
first (1)                Hugh (2)                       12:12                  married (1)               Number (2)
   6:1                     6:13;9:24                                             15:5                      4:6;17:9
folks (1)                Hugh's (3)                             K              Mary (1)                  numbers (1)
   20:16                   6:9,13;9:23                                           16:8                      14:16
following (1)                                        kept (1)                  Matt (1)
   6:22                             I                  10:1                      20:6                               O
follow-up (2)                                        kind (1)                  matter (1)
   5:19;13:25            idea (2)                      20:7                      4:19                    Office (1)
form (1)                    8:15;9:6                                           may (1)                      4:10
   18:2                  Inaudible (12)                          L               16:4                    official (1)
formation (1)               5:1;8:5,8,23;10:15;                                maybe (2)                    6:25
   11:18                    11:2,4;12:12;16:14;      Lake (5)                    9:5;16:25               offline (1)
forward (1)                 18:15,23;20:13              12:23,25;13:2;16:6;    mean (2)                     20:8
   18:24                 indicate (1)                   17:1                     7:23;9:19               once (1)
free (1)                    13:10                    Lane (2)                  meeting (8)                  4:21
   20:17                 individual (1)                 10:3;12:9                4:5,5,8,9,14,16;6:1;    one (10)
front (1)                   9:17                     last (5)                    20:20                      4:16;7:23;8:9;11:22;
   17:15                 information (1)                4:16;5:12,16;9:1;      memory (1)                  14:9,11,11,13,22;17:23
funds (5)                   11:11                       16:4                     9:1                     only (5)
   9:7,12;11:12;13:6;    information's (1)           lease (1)                 mentioned (1)                7:25;9:16,17;14:13;
   17:24                    17:7                        12:12                    16:4                       15:14
                         initial (1)                 leased (1)                might (4)                 opened (1)
            G               17:23                       13:17                    5:12,19;14:19;20:11        7:19
                         initially (1)               least (1)                 Monday (1)                opportunity (1)
general (1)                 10:9                        19:3                     20:14                      9:6
  9:6                    initiated (2)               left (1)                  money (3)                 otherwise (1)
giving (1)                  6:11,18                     15:21                    10:1;18:4,12               11:16
  20:9                   institutions (2)            likely (1)                Montana (3)               out (5)
Glacier (2)                 7:4,14                      8:3                      7:14,17;17:2               8:5;9:20;16:1;17:19;
  11:25;12:1             interesting (1)             listed (1)                month (4)                    18:1
good (2)                    16:9                        16:12                    5:12,16;6:1;9:1         over (1)
  20:10,15               interruption (1)            little (4)                more (3)                     5:14
granted (1)                 8:8                         5:3;6:6;8:24;10:6        8:3,9;20:3              own (1)
  8:24                   into (6)                    live (1)                  mortgage (9)                 15:10
guess (5)                   8:4;9:19;12:10;             17:5                     13:5,8;16:1,3;17:6,8,   owned (1)
  4:20;7:13;8:16;           18:16,18;19:11           living (2)                  10,13,18                   13:15
  10:23;19:15            Investments (5)                13:2;16:25             move (2)                  owner (1)
                            10:9,11,18;11:13,16      LLC (6)                     4:19;7:13                  9:16
            H            involved (4)                   10:9,12,18,19;11:13,   moved (2)
                            9:22;11:2;13:19;            16                       12:10,13                           P
hand (1)                    17:2                     loans (1)                 moving (1)
  4:22                   involvement (2)                9:23                     12:19                   part (3)
hard (1)                    10:24;12:6               local (1)                 much (2)                    6:9;10:17;11:24
  5:6                    issuance (1)                   16:18                    5:10;20:16              passage (1)
hear (1)                    6:22                     long (1)                                              9:5
  8:7                    issue (1)                      7:20                                 N           Patten (12)
heard (2)                   13:5                     look (1)                                              4:17;5:14,21,24,25;

Min-U-Script®                                     Charles Fisher Court Reporting                           (23) February - Patten
                    9:23-ap-09001-BPH     Doc#: 35-49
                              442 East Mendenhall, BozemanFiled: 11/15/23
                                                           MT 59715,         Page 9 of 11
                                                                     (406) 587-9016
In Re: Scott K. Williams Debtor 12.09.2022

  8:14;13:22;17:23;20:5,      9:3                   savings (7)                   14:8,22;15:17;19:17      15:16
  13,15,18                 record (4)                  14:13,14,20,21,22;      statements (4)            trust (5)
payment (1)                   4:15;5:15;10:8;14:5      19:12,17                   14:17;18:21;19:4,16      6:4,8,8,13;20:8
  13:7                     records (5)              Schedule (1)               step (1)                  TRUSTEE (17)
payments (1)                  6:7;8:16;10:7;11:11;     16:12                      6:23                     4:4;5:2,5,9;8:6,9,11,
  13:11                       13:10                 Scott (9)                  still (12)                  13;13:24;14:3;16:15,
period (2)                 registered (1)              4:5,13,21;5:3,11;8:7;      4:15;5:15;7:10,16;       16;17:20,21;20:3,16,19
  8:1;13:2                    10:23                    13:14,24;16:17             12:11,22,25;15:25;     try (1)
personally (1)             related (2)              second (1)                    16:21,25;18:20;19:11     4:19
  11:13                       6:2,8                    14:23                   Stops (2)                 trying (2)
Peter (1)                  remember (8)             secure (1)                    11:25;12:1               8:15;12:17
  16:8                        6:19;7:8,8,20;9:9;       16:23                   stuck (1)                 turn (2)
picture (1)                   17:8;18:5,6           seeing (1)                    20:11                    5:5,14
  6:10                     remotely (1)                14:18                   stuff (1)                 two (2)
place (1)                     16:2                  self-employed (1)             9:23                     14:9;19:13
  4:18                     repeat (1)                  15:25                   sum (1)                   type (1)
point (2)                     8:7                   separate (5)                  8:25                     13:20
  7:8;15:13                requested (1)               10:1;14:22;15:14,14;    Sure (6)
position (1)                  4:17                     19:17                      5:21;8:21;9:21;                     U
  11:15                    research (2)             separated (1)                 15:12;16:22;19:1
present (1)                   10:6;11:24               9:21                    sworn (1)                 uh (9)
  11:6                     reside (2)               separately (1)                4:24                     4:4;6:6;7:3;8:25;
pretty (1)                    10:3;12:19               15:9                                                10:24;11:1;13:5,23;
  9:21                     residence (1)            series (2)                            T                16:11
previous (1)                  12:9                     5:11;6:7                                          Uhm (22)
  15:7                     residency (1)            Shimanek (9)               talk (1)                    4:16;5:12,12;6:2;7:6,
prior (2)                     12:24                    4:17;5:20;14:18;           11:22                    12,16,18;8:16;9:10;
  7:13;12:19               resident (1)                16:11,14,18;17:18;      talked (1)                  10:2,22;12:9,11,21;
PRMI (2)                      12:25                    20:10,14                   9:1                      13:22;15:10,25;16:22;
  16:6,6                   respect (1)              shoot (1)                  talking (1)                 17:7,14;19:13
probably (3)                  20:7                     14:16                      9:16                   United (1)
  8:3,23;19:5              Return (3)               significant (1)            tax (4)                     17:18
properly (1)                  16:23;17:1,3             8:25                       16:18,21,23;19:24      United-something (2)
  4:11                     returns (4)              solely (1)                 terms (3)                   17:14,15
property (4)                  16:19,21,24;19:25        14:11                      7:9;11:11,18           unlikely (1)
  10:7,10;13:15,17         reviewed (1)             somewhere (1)              testimony (4)               8:18
provide (1)                   10:7                     16:22                      9:12;14:5;16:25;       up (5)
  19:15                    right (8)                sorry (1)                     19:17                    5:2,6;10:16;12:13;
provided (4)                  4:22;6:15;10:5;          10:16                   thanks (3)                  18:6
  14:18;16:18;17:7,14         12:18;15:5,22;19:23;  sounds (4)                    5:21,21;20:18          used (2)
public (1)                    20:1                     19:18;20:10,11,15       thought (2)                 7:23;9:18
  10:8                     Roger (1)                sources (1)                   4:7;9:8                uses (1)
purchase (1)                  16:8                     10:8                    times (1)                   15:6
  13:6                     role (1)                 speak (1)                     12:22                  using (1)
purchased (1)                 10:24                    5:2                     today (5)                   7:25
  10:9                     rules (2)                spent (2)                     4:15,18;5:13,18;6:2    Utah (6)
pursuant (1)                  12:24;16:18              9:2,13                  together (1)                7:11,21,24;15:21;
  16:17                    RV (2)                   split (1)                     13:2                     16:2,2
                              6:9;9:23                 18:5                    touch (1)
           R               RV's (1)                 spoke (2)                     20:14                               V
                              6:13                     6:1;11:6                touched (1)
raise (1)                                           Spotted (2)                   13:5                   variety (2)
  4:22                                 S               10:3;12:9               track (1)                   9:2;10:8
real (2)                                            spouse (1)                    11:11                  Viking (5)
  10:7;13:19               Salt (5)                    16:12                   transcript (1)              10:9,11,18;11:13,16
reason (1)                   12:22,25;13:2;16:6;    start (3)                     4:15                   volume (2)
  8:17                       17:1                      4:14,21;5:14            transfer (3)                5:6,6
recall (8)                 same (2)                 starting (1)                  6:12,17,18
  6:17;7:5,6;8:10;11:9,      7:16;19:11                12:16                   Travel (2)                             W
  14;12:10,11              SAMSON (17)              state (5)                     11:25;12:1
received (4)                 4:4;5:2,5,9;8:6,9,11,     7:10;16:24;17:1,3;      traveled (2)              walked (1)
  4:9;6:3,11;8:19            13;13:24;14:3;16:15,      19:24                      9:10;12:21               8:22
recollection (1)             16;17:20,21;20:3,16,19 statement (4)              true (1)                  way (4)

Min-U-Script®                                    Charles Fisher Court Reporting                               (24) payment - way
                   9:23-ap-09001-BPH     Doc#: 35-49
                              442 East Mendenhall,       Filed:
                                                   Bozeman      11/15/23
                                                           MT 59715,        Page 10 of 11
                                                                     (406) 587-9016
In Re: Scott K. Williams Debtor 12.09.2022

  4:7;6:6,12,18            8:1;11:6
What's (1)               2019 (11)
  16:3                     12:11,14,15;13:7;
whatsoever (1)             16:21,23,25;17:3;
  11:2                     18:24;19:4,24
wherever (1)             2020 (6)
  17:2                     12:12;16:19;19:5,7,
whole (1)                  20,20
  7:24                   2021 (2)
Wholesale (1)              8:1;16:19
  17:18                  22 (1)
wife (3)                   18:25
  9:18;10:22;15:8        22-90147 (1)
Willden (1)                4:6
  15:1                   280,000 (1)
Williams (3)               17:8
  4:6;5:20,25
wire (1)                               3
  6:18
within (2)               3336 (1)
  6:19;7:4                 14:19
worked (1)               341 (1)
  12:22                    6:1
works (4)
  14:15;16:1,2,3                       4
write (1)
  16:5                   425 (1)
written (1)                6:15
  9:20                   425,000 (1)
Wyoming (3)                8:22
  13:15,17,20
                                       9
            Y
                         9 (2)
ya (1)                      9:19,22
  5:7
Yep (1)
  10:21

            Z
Zions (3)
  6:19;7:4;18:1

            0
0794 (1)
  14:23

            1
11423 (1)
  10:3
19 (1)
  19:20

            2
20 (1)
  7:19
2008 (2)
  9:19,22
2018 (2)

Min-U-Script®                                    Charles Fisher Court Reporting              (25) What's - 9
                    9:23-ap-09001-BPH     Doc#: 35-49
                               442 East Mendenhall,       Filed:
                                                    Bozeman      11/15/23
                                                            MT 59715,        Page 11 of 11
                                                                      (406) 587-9016
